920 F.2d 926Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clinton CARICO,v.ROBERTS &amp; BENNETT COAL COMPANY, Director, Office of Workers'Compensation Programs, United States Department ofLabor, Old Republic Insurance Company,Respondents.
    No. 90-1077.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 3, 1990.Decided Dec. 17, 1990.
    
      On Petition for Review of an Order of the Benefits Review Board.  (88-985-BLA)
      Clinton Carico, petitioner pro se.
      Mark Elliott Solomons, Laura Metcoff Klaus, Arter &amp; Hadden, Washington, D.C., Michael John Denney, Dorothy L. Page, United States Department of Labor, Washington, D.C., for respondents.
      Ben. Rev. Bd.
      DISMISSED.
      Before K.K. HALL, MURNAGHAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Clinton Carico seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. Secs. 901 et seq.    Our review of the record discloses that Carico noted this appeal outside the 60-day appeal period established by 33 U.S.C. Sec. 921(c).  See also 20 C.F.R. Secs. 802.406 and 802.410(a).  Appellant's failure to note a timely appeal deprives this Court of jurisdiction to consider this case.   See Adkins v. Director, OWCP, 889 F.2d 1360 (4th Cir.1989).  We therefore deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    